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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

Uzi Ora,

       Plaintiff,

               v.                                         Case No. 1:16cv875

Fitness International, LLC,                               Judge Michael R. Barrett

       Defendant.

                                          ORDER

       This matter is before the Court on the Report and Recommendation filed by the

Magistrate Judge on January 31, 2017 (Doc. 32).

       Proper notice has been given to the parties under 28 U.S.C. ' 636(b)(1)(C),

including notice that the parties would waive further appeal if they failed to file objections

to the Report and Recommendation in a timely manner. United States v. Walters, 638

F.2d 947 (6th Cir. 1981). No objections to the Magistrate Judge=s Report and

Recommendation have been filed.

       Accordingly, it is ORDERED that the Report and Recommendation (Doc. 32) of

the Magistrate Judge is hereby ADOPTED. Defendant’s Motion for Partial Summary

Judgment (Doc. 23) is GRANTED consistent with the recommendation by the Magistrate

Judge.

       IT IS SO ORDERED.


                                                          /s/ Michael R. Barrett
                                                  Michael R. Barrett
                                                  United States District Judge



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